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           ">?JTPH?KK2DTGA2-T-:H22B2DKT0FDJ?JK?D:TF3TTTG-:2JT?D0AM1?D:TK>2T-KK-0>21T-112D1MB

F3T232D1-DKT-D1T>?JT-KKFI2RT0FDJK?KMK2JTK>2T0FBGA2K2TGA2-T-:H22B2DKT.2KP22DTK>2T#D?K21T K-K2JT

24D1-DKT -D1T 25D1-DKJT 0FMDJ2AT FT GHFB?J2JT FHT H2GH2J2DK-K?FDJT >-O2T .22DT C-12T /RT K>2T

$D?K21T!K-K2JT2Q02GKT-JTJ2KT7HL>T?DTPH?K?D:T?DTK>?JTGA2-T-<22B2DKT25D1-DKT-0@EFPA21:2JTK>-KTDFT

K>H2-KJT>-O2T.22DTB-12T-:-?DJKT>?BT-D1TK>-KT>2T?JTGA2-1?D:T:N?AKRT922ART-D1TOFAMDK-H?ART.20-MJ2T>2T

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             DRTBF1?60-K?FDTF3TK>?JTGA2-T-<22B2DKTBMJKT.2T?DTPH?K?D:T-D1TJ?;21T.RT-AATG-HK?2J



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